 8:16-cr-00204-RFR-FG3              Doc # 64   Filed: 11/01/16       Page 1 of 1 - Page ID # 112



                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                        8:16CR204

       vs.
                                                                           ORDER
CRAIG HOLCOMB,

                       Defendant.


       This matter is before the court on defendant's MOTION TO EXTEND TIME TO FILE
PRETRIAL MOTIONS [62]. For good cause shown, I find that the motion should be granted.
Pretrial Motions shall be filed by November 15, 2016.


       IT IS ORDERED:
       1.      Defendant's MOTION TO EXTEND TIME TO FILE PRETRIAL MOTIONS [62] is
granted. Pretrial motions shall be filed on or before November 15, 2016.
       2.      The ends of justice have been served by granting such motion and outweigh the
interests of the public and the defendant in a speedy trial. The additional time arising as a result of
the granting of the motion, i.e., the time between October 31, 2016 and November 15, 2016, shall be
deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendant's counsel required additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to
grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       Dated this 1st day of November, 2016.

                                                        BY THE COURT:
                                                        s/ F.A. Gossett, III
                                                        United States Magistrate Judge
